                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
                      Plaintiff,      )
                                      )   Case No.   4:20MJ7194 SPM
v.                                    )
                                      )
TERICA TANEISHA ELLIS,                )
                                      )
                     Defendant.       )



                         ENTRY OF APPEARANCE

     Assistant Federal Public Defender Brocca L. Morrison enters her

appearance as appointed counsel of record for the Defendant Terica

Taneisha Ellis replacing all counsel who have previously appeared on behalf

of the Defendant.



                                   Respectfully submitted,


                                   /s/Brocca L. Morrison
                                   BROCCA L. MORRISON         56093 MO
                                   Assistant Federal Public Defender
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                                   St. Louis, Missouri 63101
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                                   FAX: 314-421-3177
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                                   ATTORNEY FOR DEFENDANT
                         CERTIFICATE OF SERVICE


I hereby certify that on 08/18/2020, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the Office of the United States Attorney.




                                    /s/ Brocca L. Morrison
                                    BROCCA L. MORRISON        56093 MO
